3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-1   Page 1 of 6




                            Exhibit A
                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA
                                        COLUMBIA DIVISION
                          CIVIL ACTION NO. 3:21-cv-03302-JMC-TJH-RMG


            THE SOUTH CAROLINA STATE                          )
            CONFERENCE OF THE NAACP,                          )
                                                              )
              and                                             )
                                                              )
              TAIWAN SCOTT, on behalf of                      )
              himself and all other similarly )
              situated persons,                               )    CONTINUED DEPOSITION
                                       Plaintiffs,            )
                     v.                                       )                  OF
                                                              )
              HENRY D. MCMASTER, in his                       )           BRENDA MURPHY
              official capacity as Governor                   )
              of South Carolina; THOMAS C.                    )
              ALEXANDER, in his official                      )
              capacity as President of the                    )
              Senate; LUKE A. RANKIN, in his                  )
              official capacity as Chairman                   )
              of the Senate Judiciary                         )
              Committee; JAMES H. LUCAS, in                   )
              his official capacity as Speaker )
              of the House of Representatives; )
              CHRIS MURPHY, in his official                   )
              capacity as Chairman of the                     )
              House of Representatives                        )
              Judiciary Committee; WALLACE                    )
              H. JORDAN, in his official                      )
              capacity as Chairman of the                     )
              House of Representatives                        )
              Elections Law Subcommittee;                     )
              HOWARD KNAPP, in his official                   )
              capacity as interim Executive                   )
              Director of the South Carolina                  )
              State Election Commission; JOHN )
              WELLS, Chair, JOANNE DAY,                       )
              CLIFFORD J. EDLER, LINDA MCCALL, )
              and SCOTT MOSELEY,
3:21-cv-03302-MGL-TJH-RMG                in their
                          Date Filed 04/29/22                 )
                                              Entry Number 248-1   Page 2 of 6
              official capacities as members                  )
              of the South Carolina Election                  )
              Commission,                                     )
                                                              )
                                       Defendants.            )
              _________________________________)
                   Pursuant to Rule 30 of the Federal Rules of Civil

            Procedure, the within continued deposition of Brenda Murphy,

            appearing via Zoom, was taken by Counsel for Defendants

            James H. Lucas, Chris Murphy, and Wallace H. Jordan, at the

            hour of 10:14 a.m. on Thursday, April 14, 2022, at the law

            offices of Nexsen Pruet, LLC, 1230 Main Street, Suite 700,

            Columbia, South Carolina, attended by counsel as follows:




                                                   JAN L. WHITWORTH
                                                  VERBATIM REPORTER




3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22    Entry Number 248-1   Page 3 of 6




                            WHITWORTH COURT REPORTING
                                             POST OFFICE BOX 551
                                            ROEBUCK, S.C. 29376
                                                 864-494-2705
                                                                                                     14

      1            A.       Yes.

      2            Q.       Okay.      And have those been produced if they were

      3                     responsive to our request to the best of your

      4                     knowledge?

      5            A.       To the best of my knowledge, what was requested was

      6                     produced.

      7            Q.       Okay.      Have you looked for documents on your

      8                     brendamurph@gmail.com account?

      9            A.       That was -- my gmail was provided in order for

    10                      search to be done.

    11             Q.       Okay.      So, you provided access to that account to

    12                      your counsel ---

    13             A.       Yes.

    14             Q.       --- so that they could perform ---

    15             A.       Yes.

    16             Q.       --- a search?

    17             A.       Yes.

    18             Q.       Okay, thank you.              And did you personally search that

    19                      account, or did you depend on your attorneys to

    20                      search that account once provided?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-1   Page 4 of 6
    21             A.       I did not personally search it.                          The attorneys

    22                      searched the account.

    23             Q.       Okay.      And do you know which lawyers conducted that

    24                      account?        I don’t want the details of what they did.

    25                      I am just asking if you know which lawyers conducted
                                                                                                     15

      1                     that search, to the best of your knowledge, and if

      2                     you don’t know, again, I probably didn’t say this

      3                     before, but if you don’t know the answer to my

      4                     question, I am not asking you to speculate.                         You can

      5                     just tell me you don’t know.

      6            A.       I do know him.             His name was Adam -- I don’t want to

      7                     mispronounce his last name, but I do have -- you

      8                     know, I know -- I know his name.                         I talked with him

      9                     personally.

    10             Q.       Was it Adam Pergament from Arnold ---

    11             A.       Yes.

    12             Q.       --- & Porter?

    13             A.       Yes, Pergament.

    14             Q.       Okay.      And is he the only one to your knowledge that

    15                      performed that search, to your knowledge?

    16             A.       Yes.

    17             Q.       Okay.

    18             A.       To my knowledge.

    19             Q.       Okay.      And do you know if any of your emails from

    20                      that account have been produced to us in this
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-1   Page 5 of 6
    21                      litigation?

    22             A.       What was given to me in discovery, I saw maybe a

    23                      few, a couple emails, yes.

    24             Q.       Okay, all right.              So, what about the account

    25                      murph547@aol.com; does that account ---
                                                                                         16

      1            A.       No.

      2            Q.       --- belong to you, President Murphy?

      3            A.       No, that is my husband’s email address.

      4            Q.       That is your husband’s email address?

      5            A.       Yes.

      6            Q.       Do you use his email address; do you use ---

      7            A.       No, I do not use that.                 I only use

      8                     brendacmurph@gmail.com for any business that I

      9                     transacted at home during COVID.

    10             Q.       Okay.

    11             A.       I did not use murph.

    12             Q.       Okay.      Do you know, President Murphy, if there has

    13                      sort of been any comparison of your production to

    14                      the production that we have received from other

    15                      entities such as the League of Women Voters?             Do you

    16                      know that?

    17             A.       No, I don’t; I don’t know that.

    18             Q.       Okay.      Are you aware that we issued a subpoena to

    19                      the League of Women Voters, and they made a very

    20                      fulsome document production to us, which was
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-1   Page 6 of 6
    21                      provided to your counsel in discovery?

    22             A.       No, I don’t know that.

    23             Q.       Okay.      I believe -- do you know if there are emails

    24                      that were produced by the League of Women Voters

    25                      that were produced to them -- by them including
